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                                UNITED STATES DISTRICT COURT
                                                           for the
                                          DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA
                                                              Mag. No. 20-mj-10067
                  V.


 PEDRO ANTONIO AQUINO-EUFRACIA                                20-2250-MJ-MCALILEY

                                            ARREST WARRANT
To:      Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay:
                            PEDRO ANTONIO AOUINO-EUFRACIA,
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment O Superseding Indictment O Information O Superseding Information Iii Complaint
0 Probation Violation Petition O Supervised Release Violation Petition O Violation Notice O Order of the Court

This offense is briefly described as follows:

        Conspiring to launder monetary instruments and engage in monetary transactions in property derived from


                                                                            «��:
        specified unlawful activity, contrary to 18 U .S.C. §§ 1956(a)( I )(B)(i) and 195 7(a), in/olation of 18 U .S.C. §§

                                                                 1&�e.!�/i�i,c:��
        I 956(h) and 2.                                             •·                  .      1
                                                                                                      .
Date: February 14, 2020
                                                                  HON. MICHAEL A. HAMMER
City and State: Newark, New Jersey                                United States Magistrate Judge


                                                          Return

 This warrant was received on (date) _______, and the person was arrested on;_______ (date)


 Date:______
                                                                                     Arresting Officer's Signature


                                                                                        Printed name and title
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                                                                             Miami
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